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                                                THE CITY OF NEW YORK
MURIEL GOODE-TRUFANT                           LAW DEPARTMENT                                                 René L. Macioce
                                                                                               Labor & Employment Law Division
Acting Corporation Counsel                         100 CHURCH STREET                                      Phone: (212) 356-2479
                                                   NEW YORK, NY 10007                                    rmacioce@law.nyc.gov




                                                                         November 8, 2024
        By ECF
        Magistrate Judge Lois Bloom
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                             Re:   Louis v. New York City Department of Education, et al.
                                   No. 22 Civ. 07787 (DG)(LB)

        Dear Judge Bloom:

                         I am an Assistant Corporation Counsel in the Office of Muriel Goode-Trufant,
        Acting Corporation Counsel of the City of New York, assigned to represent Defendants, the New
        York City Department of Education, the City of New York Office of Food and Nutrition Services
        (“DOE”), Andrew Goodman, Esther Semple, Derrick Mitchell, and Wendy John (collectively,
        “Defendants”), in the above-referenced action. The parties write to jointly request a 30-day
        extension of time for the Parties to either file their stipulation of dismissal or, alternatively, to file
        a joint status report.

                         Plaintiff commenced this action on December 19, 2023, and filed an Amended
        Complaint on March 6, 2024. See ECF No. 44. At the pre-motion conference to discuss
        Defendants’ anticipated Motion to Dismiss the Amended Complaint, the Court referred the parties
        to mediation. See Text Order Referring Case to Mediation, dated June 27, 2024. On September 9,
        2024, your Honor ordered that the parties “complete mediation by November 10, 2024” as well as
        “file a joint status letter by November 17, 2024.” See Text Order dated September 9, 2024. On
        November 6, 2024, the Parties appeared before Magistrate Judge Viktor Pohorelsky (Ret.) for
        mediation and reached a settlement in principle. However, the parties need additional time to
        negotiate the agreement’s release language in light of Plaintiff’s claims in other forums relating to
        her pension and workers compensation.

                         The parties now request a 30-day extension of time to complete mediation and to
        either file a stipulation of dismissal or, alternatively, a joint status report advising the Court as to
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 the status of settlement. Thus, the parties jointly request an extension until December 17, 2024, to
 file a stipulation of dismissal or joint status letter.

                The parties appreciate the Court’s attention and consideration of this request.

                                                              Respectfully Submitted,
                                                                     /s/
                                                              René L. Macioce
                                                              Assistant Corporation Counsel


 cc:    Clela Errington, Esq.,
        Megan Sarah Goddard, Esq.
        Attorney for plaintiff (By ECF)




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